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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

IN RE:                                           §
                                                 §     BANKRUPTCY CASE NO. 10-70594
JOSE TREVINO, SR. and                            §
TERESA TREVINO                                   §     CHAPTER 13
                                                 §
DEBTORS                                          §
                                                 §
JOSE TREVINO AND                                 §
TERESA TREVINO,                                  §
                                                 §
PLAINTIFFS,                                      §
                                                 §
v.                                               §      ADVERSARY NO. 13-07031
                                                 §
1) HSBC MORTGAGE SERVICES,                       §
   INC.,                                         §
                                                 §
2) U.S. BANK TRUST, N.A. as Trustee              §
   for LSF8 MASTER                               §
   PARTICIPATION TRUST, and                      §
                                                 §
3) CALIBER HOME LOANS, INC.,                     §
                                                 §
DEFENDANTS.                                      §

           PLAINITFFS’ UNOPPOSED MOTION SEEKING THAT THE
     COURT SET A STATUS CONFERENCE IN THIS ADVERSARY PROCEEDING

       COME NOW, Jose and Teresa Trevino, Plaintiffs, and file this unopposed motion

requesting that the Court conduct a status conference in this adversary proceeding, and at such

conference enter a schedule for further pre-trial proceedings in advance of trial. In support,

Plaintiffs respectfully show the Court as follows:

       1.      Plaintiffs filed this adversary proceeding on December 30, 2013.




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        2.     Defendants Caliber and U.S. Bank Trust filed a motion to dismiss, and briefing was

submitted. See Docket Nos. 13, 22, 29 and 32. However, the Court did not rule on the motion to

dismiss of Caliber and U.S. Bank at that time.

        3.     The Court had entered a scheduling order on April 21, 2014, and discovery

commenced. Docket No. 25.

        4.     Plaintiffs later filed motions to compel, which were set for hearing on August 26,

2014.

        5.     On August 12, 2014, Defendant HSBC filed motions to substitute counsel (Docket

No. 35), and on August 18, 2014 HSBC filed other documents, including a motion for summary

judgment/motion for judgment on the pleadings, motion to stay discovery hearings and discovery

in general, a motion for protective order, and a response to Plaintiffs’ motion to compel. See

Docket Nos. 38 and 39.

        6.     In light of the new developments, the Court held a status conference on August 26,

2014. At the status conference, the Court directed Plaintiff to amend the complaint, and suspended

all other deadlines. See Courtroom Minutes, Docket No. 47.

        7.     After additional motion practice, Plaintiffs filed their Second Amended Complaint

on March 12, 2015. Docket No. 78.

        8.     All Defendants filed motions to dismiss the second amended complaint in full, and

the issues were briefed extensively. See Docket Nos. 79, 80, 81, 82, 83, 84, 86, 87, 88, 89 and 90.

The motions to dismiss were argued on April 29, 2015.

        9.     On June 19, 2015, the Court issued its Opinion and Order, granting in part and

denying in part the Defendants’ motions to dismiss. Docket Nos. 96 and 97.




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       10.     After briefing on reconsideration, the Court entered a slightly revised Opinion and

an Amended Order. Docket Nos. 105 and 106. See Trevino v. HSBC Mortgage Services, Inc., et

al. (In re Trevino), 2015 WL 4628785 (Bankr. S.D. Tex. July 31, 2015).

       11.     The Parties have no scheduling order in place to guide pre-trial proceedings now

that the motions to dismiss have been resolved. Plaintiffs thus request that the Court set a status

conference for one of the following days, which are available dates for the counsel that will be

attending, if any such dates are convenient for the Court:

                  Tuesday, September 24, 2015 – Friday, September 25, 2015;

                 Monday, September 28, 2015 – Tuesday, September 29, 2015;

                       Monday, October 5 – Wednesday, October 7, 2015.

       12.     The Parties estimate that the status conference should take approximately 45

minutes.

       13.     The Defendants have no opposition to the Court setting a status conference.

       WHERFORE, PREMISES CONSIDERED, Plaintiffs respectfully requests that the Court

set a status and scheduling conference in this matter.

                                              Respectfully submitted,

                                              ARMSTRONG KELLETT BARTHOLOW PLLC

                                              By:    /s/ Karen L. Kellett
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                                             TERESA TREVINO

                           CERTIFICATE OF CONFERENCE

      I hereby certify that I have conferred with Bob Bruner, counsel for HSBC, and Melissa
Hayward, counsel for Caliber and U.S. Bank Trust, and the Defendants are not opposed to this
Motion.

                                             /s/ Karen L. Kellett
                                             Karen L. Kellett


                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served via
electronic mail to the persons listed below on August 26, 2014:

                                             /s/ Karen L. Kellett
                                             Karen L. Kellett



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